      Case: 3:21-cv-00306-wmc Document #: 169 Filed: 03/01/22 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN


NATIONAL WILDLIFE REGUGE ASSOCIATION,
DRIFTLESS AREA LAND CONSERVANCY, WISCONSIN
WILDLIFE FEDERATION, and DEFENDERS OF WILDLIFE

                           Plaintiffs,
       V.
                                                2 l-cv-096-wmc & 2 l -cv-306-wmc,
                                                             Consolidated
RURAL UTILITIES SERVICE,
CHRISTOPHER MCLEAN, Acting Administrator,
Rural Utilities Service,
UNITED STATES FISH AND WILDLIFE SERVICE,
CHARLES WOOLEY, Midwest Regional Director, and
SABRINA CHANDLER, Manager, Upper Mississippi River
National Wildlife and Fish Refuge,
UNITED STATES ARMY CORPS OF ENGINEERS,
LIEUTENANT GENERAL SCOTT A SPELLMON, Chief of
Engineers and Commanding General, U.S. Army Corps of
Engineers, COLONEL STEVEN SATTINGER, Commander
And District Engineer, Rock Island District, U.S. Army Corps of
Engineers, and COLONEL KARL JANSEN, Commander and
District Engineer, St. Paul District, U.S. Army Corps of Engineers,

                           Defendants,

                                    and

AMERICAN TRANSMISSION COMPANY, LLC,
DAIRYLAND POWER COOPERATIVE, & ITC
MIDWEST LLC,

                            Intervenor-Defendants.



                                   FINAL JUDGMENT



       IT IS ORDERED AND ADJUDGED that
      Case: 3:21-cv-00306-wmc Document #: 169 Filed: 03/01/22 Page 2 of 2




      In Case No. 21-cv-96, the court enters judgment in favor of plaintiffs and against

federal defendants and intervenor-defendants as follows:


   1. The Record of Decision issued by the Rural Utilities Service effective January 16,

      2020, is VACATED AND REMANDED to the Rural Utilities Service for further

      proceedings consistent with the court's January 12, 2022, Opinion and Order on

      summary judgment ·(dkt. #175).

   2. The court DECLARES that the compatibility determination precludes the CHC

      transmission line as currently proposed from crossing the refuge by right of way or

      land transfer.

   3. The court VACATES AND REMANDS the defendants' Environmental Impact

       Statement and Records of Decision consistent with the court's January 12, 2022,

      Opinion and Order on summary judgment (dkt. # 175).


      In Case No. 2 l-cv-306, judgment is entered in favor of federal defendants and

intervenor-defendants and against plaintiffs on Counts 1, 2, 3, and 5, which are

DISMISSED WITH PREJUDICE. Judgment is entered in favor of plaintiffs and against

federal defendants and intervenor-defendants on Count 4 as set forth above.


        pproved as to form this 1st day of March, 2022.




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Peter Oppeneer:c=erkofCourt
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